                                         Case 3:07-cv-05944-JST Document 4261 Filed 12/17/15 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7    IN RE: CATHODE RAY TUBE (CRT)                       MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                        Case No. C-07-5944 JST

                                   9
                                        This Order Relates To:                              ORDER REGARDING DEADLINE FOR
                                  10                                                        REQUESTS TO FILE CERTAIN NEW
                                                                                            MOTIONS
                                  11    ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13          At Tuesday's Case Management Conference, the Court set out a tentative schedule for trial

                                  14   of the remaining cases. The Court will finalize trial dates during a trial setting conference,

                                  15   approximately two weeks following the hearing on final approval for the Indirect Purchaser

                                  16   Plaintiff ("IPP") class settlement. See ECF No. 4164 at 2.

                                  17          The deadlines for summary judgment motions, motions in limine, and Daubert motions

                                  18   have all passed. See ECF No. 2459 at 3-4. The Court does not anticipate that there will be a

                                  19   significant need for additional motions beyond those already filed. Nonetheless, the Court

                                  20   recognizes that in rare instances, discovery conducted after the prior motions deadline, rulings on

                                  21   existing motions, or other case events may provide good cause for the filing of an additional

                                  22   motion. The Court now sets a deadline of April 12, 2016 for the filing of requests for leave to file

                                  23   an additional such motion.

                                  24          Any request for leave to file an additional motion must be filed in accordance with the civil

                                  25   local rules on administrative motions, should avoid arguing the merits of the underlying motion to

                                  26   any significant degree, and must show good cause why new discovery or an intervening order of

                                  27   ///

                                  28   ///
                                         Case 3:07-cv-05944-JST Document 4261 Filed 12/17/15 Page 2 of 2




                                   1   the Court made it impossible for the motion to be filed within the original deadlines set for such

                                   2   motions. Absent such a showing, the Court is likely to deny any request to file a new motion.

                                   3          IT IS SO ORDERED.

                                   4   Dated: December 17, 2015
                                                                                       ______________________________________
                                   5
                                                                                                     JON S. TIGAR
                                   6                                                           United States District Judge

                                   7

                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                        2
